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 7
                      IN THE UNITED STATES DISTRICT COURT
 8
 9           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
10
11
12
       MAMMOTHRX, INC., RYAN                    Civil Action No. 8:21-cv-00305
       HILTON, and
13     AMIR ASVADI,                             FIRST AMENDED
14                                              COMPLAINT SEEKING A
       Plaintiffs,                              DECLARATORY JUDGMENT
15                                              AND DAMAGES FOR BREACH
16                      -v-                     OF CONTRACT, FOR
                                                NEGLIGENCE, AND FOR
17
       BAM INTERNATIONAL, LLC, THE              ATTORNEYS’ FEES
18     MSBA GROUP, INC., and MILES
19     STEVEN BOWN,
20     Defendants.
21
22
23           COME NOW, Plaintiffs MammothRx, Inc, Ryan Hilton, and Amir Asvadi,
24
      for their First Amended Complaint against BAM International, LLC, The MSBA
25
26    Group, Inc., and Miles Steven Bown, allege the following:
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
                              ATTORNEYS’ FEES
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 1
 2
                                        THE PARTIES
 3
 4          1.     Plaintiff MammothRx, Inc, (“Mammoth”) is a corporation organized
 5
      under the laws of the State of Delaware with its principal place of business in the
 6
 7    state of California, Orange County.

 8          2.     Plaintiff Ryan Hilton (“Hilton”) is an individual who is a citizen of the
 9
      state of California, resident in Orange County.
10
11          3.     Plaintiff Amir Asvadi (“Asvadi”) is an individual who is a citizen of
12
      the state of California, resident in Orange County.
13
14          4.     Defendant BAM International, Inc. (“BAM”) is a corporation
15    incorporated and having its principal place of business in the Commonwealth of
16
      Pennsylvania.
17
18          5.     The MSBA Group, Inc. (“MSBA”) is a corporation incorporated and
19
      having its principal place of business in the state of Utah.
20
21          6.     Miles Steven Bown (“Bown”) is a citizen of the state of Utah.
22
                           SUBJECT MATTER JURISDICTION
23
24
             7.    This Court has subject matter jurisdiction over this dispute pursuant to

25    28 U.S.C. § 1332(a)(1), diversity of citizenship, because the matter in controversy
26
      exceeds $75,000.00, exclusive of interest and costs, and is between citizens of
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
                              ATTORNEYS’ FEES
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 1    different states. Specifically, for jurisdiction purposes, the Plaintiffs are citizens of
 2
      California and Delaware, and Defendants are citizens of Pennsylvania or Utah, and
 3
 4    thus there is complete diversity of citizenship.
 5
                                              VENUE
 6
 7          8.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2)

 8    because a substantial part of the events giving rise to the claims alleged in this First
 9
      Amended Complaint occurred within this district as pleaded below; specifically, at
10
11    all times alleged in this First Amended Complaint, Plaintiffs were doing business
12
      in Orange County, California, within this District, and Defendants made many
13
14    communications to Plaintiffs received in Orange County out of which arose both
15    the agreements referred to below and the causes of action referred to below.
16
      Specifically, a representative of BAM, acting on behalf of BAM, made
17
18    approximately 100 telephone calls, WhatsApp communications, text
19
      communications, or email communications into Orange County. Bown, on behalf
20
21    of himself and MSBA, made numerous communications of a similar kind into
22
      Orange County, from which arose the claims made herein.
23
24
25
26
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
                              ATTORNEYS’ FEES
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 1                                           FACTS
 2
            9.     BAM is a business entity which, through a representative, negotiated,
 3
 4    communicated about, and finalized the agreements referred to herein, doing so by
 5
      many written and oral communications to Plaintiffs in Orange County, California.
 6
 7          10.    By a Sales and Purchase Agreement (sometimes hereafter “SPA”)

 8    effective as of November 16, 2020, BAM agreed to purchase from a Malaysian
 9
      company called Universal SNT Trading, SDN BHD (“Universal”) one million
10
11    boxes of medical nitrile examination gloves (produced by a Vietnamese company)
12
      for the sum of $7,550,000. A copy of that SPA is attached to this Complaint as
13
14    Exhibit 1 and incorporated herein fully as if pleaded herein in its entirety.
15          11.    In order to protect the purchaser, Defendant BAM, from releasing the
16
      funds necessary to pay this large purchase price to the oversees seller, Universal,
17
18    unless the high-quality, agreed-upon gloves had been shipped by Universal, the
19
      SPA, in paragraphs 3.2 through 3.4, stated the following protective conditions, as
20
21    follows:
22
            3.2 Within two (2) business days or less after wired funds have cleared the
23          escrow account, Seller and/or Master Distributor shall enable Purchaser to
24
            book SGS Final Random Inspection of the Boxes, which SGS Final Random
            Inspection shall be conducted at Buyer’s expense.
25
26          3.3 If the SGS Final Random Inspection result is CONFORM, then within
            two (2) business days of the receipt of said SGS Final Random Inspection
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
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 1           result, Seller shall cause the Gloves to be released to Purchaser’s Freight
 2           Forwarder in Vietnam (HECNY).
 3           3.4 Upon release of the Boxes to Buyer’s Freight Forwarder evidenced by
 4           executed Bill of Lading or related documentation, payment of the Total
             Price in full, without deduction or set off, shall be drawn from the Letter of
 5
             Credit will be immediately released and available in United States dollars to
 6           Manufacturer’s account.
 7
             12.    Initially, BAM and Universal had wanted a bank to insure the above-
 8
 9     stated protective conditions by administering those conditions under a letter of
10
       credit. That letter of credit was to represent to the seller, Universal, that the
11
12
       purchase price of $7,550,000 was assured and would be paid to the seller directly

13     from the bank upon proof of (i) the satisfactory inspection at the factory which
14
       made the gloves to verify the gloves as being the high-quality kind stated in the
15
16     SPA, and (ii) also upon showing receipt by the purchaser’s freight forwarder of a
17
       bill of lading for the gloves, evidencing their shipment.
18
19           13.    However, BAM thereafter determined that, because of its current
20     credit situation with its bank, it could not obtain a letter of credit in the short
21
       amount of time specified under the SPA for delivery of the gloves, and as a result
22
23     BAM determined that it would use instead an escrow agent and escrow bank
24
       account to administer and ensure the conditions which would protect BAM and
25
26
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
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 1     the seller in the same manner as would a letter of credit having the specifications
 2
       alleged above.
 3
 4           14.       BAM therefore engaged the services of Defendant MSBA and its
 5
       principal, Defendant Bown, to act as BAM’s escrow agent to insure the above-
 6
 7     referenced protective condition.

 8           15.       BAM and MSBA entered into an Escrow Agreement which is
 9
       attached hereto as Exhibit 2 and incorporated herein fully as if pleaded herein in
10
11     its entirety.
12
             16.       Under that Escrow Agreement BAM appointed MSBA as BAM’s
13
14     agent (See Exhibit 2, para. 1) and thereafter BAM was to and did send the full
15     purchase price for the gloves to MSBA, which deposited those funds in an account
16
       from which, by the terms of the Escrow Agreement that adopted the protective
17
18     conditions of the SPA, they would not thereafter be released to the seller until
19
       these protective conditions had been met. As the Escrow Agreement provided:
20
21           Further to terms and conditions of the SPA, [meaning the
             Universal/BAM Purchase Agreement having the conditions stated at
22
             paras. 3.2 through 3.4 thereof] and pursuant to the explicit instruction
23           of the Purchaser [BAM], the Escrow Agent shall in its name and for
24
             the account of the buyer [BAM] upon the receipt of a notice from
             Purchasers [BAM] that SGS Final Random Inspection has passed with
25           CONOFRM [sic] result, remit the sum of 7,550,00 USD (less costs of
26           escrow and other offsets as allowed by Seller) as Total Price to the
             Seller [Universal].
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
                              ATTORNEYS’ FEES
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 1
 2
            17.    This language just quoted clearly adopts as obligations of BAM’s
 3
 4    escrow agent (MSBA) the protective requirements stated in paragraphs 3.2 through
 5
      3.4 of the Sales and Purchase Agreement (referred to above in para. 11 of this First
 6
 7    Amended Complaint) which were to have been satisfied before the funds could be

 8    released by Defendant MSBA from the account to Universal. If the funds were
 9
      released and for whatever reason the gloves did not arrive, MSBA was obligated as
10
11    follows, as stated in the Escrow Agreement in para. 5:
12
            In the event that the Seller will not: . . . (ii) deliver Gloves as per
13          terms and conditions of the SPA, then upon Purchaser issuing SPA
14          termination notice to the Seller, the Escrow Agent shall cause the
            Seller to return the Total Price to the bank account of the Purchaser.
15
16          18.    Plaintiff Mammoth is a corporation engaging in general business
17
      activity for profit who at all times referred to herein was doing business from its
18
19    offices in Orange County, California. Plaintiff Hilton acts as its CEO and Plaintiff
20    Asvadi acts a representative of Mammoth acting on its behalf. Because Mammoth
21
      was going to receive a commission on this glove sale, BAM insisted that
22
23    Mammoth act a guarantor of certain of MSBA’s obligations imposed by the
24
      Escrow Agreement. Specifically, a guaranty provision was added to the Escrow
25
26    Agreement, as stated in paragraph 5 of the Escrow Agreement:
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
                              ATTORNEYS’ FEES
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 1           The Guarantor [Mammoth] is joint and severally liable for fulfillment of
 2           Escrow Agent payment obligation to refund Purchaser with no regard
             whether funds from the Seller have been refunded or not.
 3
 4           19.    As an additional requirement of all the parties to the Escrow
 5
      Agreement, it provided that:
 6
 7           This Agreement constitutes the entire agreement between the Parties.
             This Agreement may not be changed, altered, or modified except by
 8           an instrument in writing signed by the Party against whom
 9           enforcement of such change would be sought.
10
      (Id., para. 12.6)
11
12
             20.    Under the Escrow agreement, MSBA was acting as the agent of the

13    Purchaser and Mammoth was acting as the Guarantor of one of MSBA’s obligation
14
      to BAM, namely the obligation to be “liable for fulfillment of Escrow Agent
15
16    payment obligation to refund Purchaser” which obligation was to “cause the Seller
17
      to return the Total Price to the bank account of the Purchaser.”
18
19           21.    As agent for BAM, MSBA was obligated to strictly enforce the
20    protective conditions stated in paragraph 11 hereof, meaning that MSBA would not
21
      relinquish the $7,550,000 until those conditions had been met.
22
23           22.    Mammoth undertook this guaranty obligation only because of the
24
      protective conditions specified in the SPA, at paras. 3.2 through 3.4, namely, that
25
26    MSBA would not release the funds unless the gloves had been inspected by a
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
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 1    neutral inspection company to assure that they were the high-quality gloves
 2
      specified in the SPA, and also unless these gloves had indeed been shipped, as
 3
 4    evidenced by BAM’s freight forwarder having received a billing of lading so
 5
      certifying.
 6
 7          23.     These protective conditions minimized the risk to Mammoth that its

 8    guaranty obligation would ever be called upon because they assured that the gloves
 9
      would be of the high-quality kind specified in the agreement and that they had in
10
11    fact been shipped and thus that the purchase price was properly released to the
12
      seller (Universal) and would not have to be returned.
13
14          24.     Moreover, in addition to those protective provisions, Defendant Bown
15    assured Mammoth that the $7,550,000 MSBA would hold as escrow agent was in
16
      an “escrow” account at Chase Bank and thereby gave assurance to Mammoth that
17
18    Chase would also be obligated to comply with the protective conditions before the
19
      money was released to Universal. Indeed, Bown opened the account as an “Escrow
20
21    Account” by name, which further assured Bown’s verbal representation that Chase
22
      Bank would be assuring the protective conditions. This assurance by Bown, acting
23
24
      as agent for and in the name of MSBA, which was agent for BAM, was false

25    because the Chase Bank account into which the money was transferred was not an
26
      escrow account in reality because the bank itself undertook no obligation to assure
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
                              ATTORNEYS’ FEES
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 1    that any of the protective conditions had been met before releasing the funds.
 2
      Instead, it was a simple bank account from which all its funds could be withdrawn
 3
 4    by the simple order of Bown, without any supervision.
 5
             25.   Mammoth would never have made the guaranty involved without the
 6
 7    protective conditions because, without them, it would in effect be guaranteeing a

 8    $7,550,000 obligation with none of the contemplated protections built into the
 9
      SPA, as described above, and thus would be guaranteeing, without any protection
10
11    or security, obligations of a foreign seller which it did not know, and which was
12
      beyond the jurisdiction of the United States and its courts.
13
14           26.   The above-described Escrow Agreement was entered into as of
15    November 19, 2020. BAM caused the $7,550,000 to be transferred to the “Escrow
16
      Account” at MSBA where it was to remain until the protective conditions had been
17
18    fulfilled.
19
             27.   Thereafter, the escrow agent released these funds to the seller without
20
21    the seller having met the required conditions specified in the SPA, at paragraphs
22
      3.2 through 3.4, namely without any inspection report to verify that the high-
23
24
      quality gloves specified in the SPA were packed and ready for shipment as

25    required, and without the bill of lading sent to BAM’s freight forwarder to assure
26
      that the gloves had in fact been shipped to BAM.
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
                              ATTORNEYS’ FEES
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 1          28.      Instead of those protective requirements being fulfilled, there was a
 2
      representation by MSBA to Mammoth and, upon information and belief, to BAM,
 3
 4    that the inspection report had been completed, that it was favorable, and that if the
 5
      funds were released to Universal by MSBA, that report would be released.
 6
 7          29.      There was no written agreement signed by the parties authorizing that

 8    change, a very substantial change, in the Escrow Agreement, despite the
 9
      requirement of paragraph 12.6 of that Agreement that any such change must be
10
11    made in a writing signed by the party against whom the change would be charged.
12
            30.      Notwithstanding that there was no writing confirming these
13
14    substantial changes, which completely eliminated the protective conditions on
15    which Mammoth was relying, the funds were thereafter released to Universal by
16
      MSBA. There were no gloves, no inspection report, and no Bill of Lading, nor any
17
18    forwarding of the gloves to the freight forwarder, all as specified in paragraphs 3.2
19
      through 3.4.
20
21          31.      By releasing the funds in these circumstances, MSBA breached its
22
      obligations under the Escrow Agreement, including its obligations to Mammoth
23
24
      satisfy the protective conditions before releasing the funds. Defendant Bown

25    participated in that breach by personally causing these funds to be released from
26
      the bank account holding the funds without the protective conditions having been
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
                              ATTORNEYS’ FEES
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 1    met and, further, by failing to place them in a true escrow account which would
 2
      have then required Chase Bank to have been responsible for assuring that the
 3
 4    protective conditions had been met and, instead, by opening a regular account
 5
      which, although he called it an escrow account, allowed him as the only signatory
 6
 7    on the account to send the funds in the account to the seller without any bank

 8    supervision, which Bown did even though none of the protective conditions had
 9
      been met.
10
11          32.    Universal has not returned the $7,550,000 that Bown sent, or any part
12
      of that sum, to BAM.
13
14          33.    BAM has demanded that Plaintiff Mammoth repay that sum, invoking
15    the guaranty stated in the escrow agreement, and has invoked that guaranty against
16
      not only Mammoth, but also against both Plaintiffs Hilton and Asvadi, declaring
17
18    that they are both liable to repay that sum of money despite the fact that neither of
19
      them were signatories to the Escrow Agreement in their personal capacities.
20
21          34.    All three Plaintiffs, Mammoth, Hilton and Asvadi, have denied any
22
      liability under that guaranty clause in the Escrow agreement.
23
24
                                           COUNT I

25                            (Seeking a Declaratory Judgment)
26
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
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 1          35.    Plaintiffs reallege and incorporate by reference herein all of the
 2
      allegations set forth above.
 3
 4          36.    There is exists a present, ripe and thus justiciable controversy between
 5
      Plaintiffs and Defendant BAM.
 6
 7          37.    All Plaintiffs contend that they are not liable to BAM under the

 8    guaranty because MSBA, acting as agent for BAM, failed to assure that the
 9
      protective provisions in the Escrow Agreement had been complied with before
10
11    releasing the $7,550,000, abandoned those protective conditions without a signed
12
      writing by all the parties to that agreement allowing those modification, as required
13
14    by that agreement, and also failed to set up a proper escrow account as Bown
15    represented that he would open, but nonetheless paid the $7,550,000 to Universal.
16
            38.    Plaintiffs Hilton and Asvadi, as a separate basis, contend that in
17
18    addition to the failures of MSBA described above, they are not liable on the
19
      guaranty because they did not sign the Escrow Agreement containing that guaranty
20
21    in their individual capacities and therefore are not bound by any obligations
22
      contained in that agreement, including the guaranty provision.
23
24
            39.    Defendant BAM, on the other hand, contends that the Plaintiffs are

25    each bound by the guaranty provisions of the Escrow Agreement contending that
26
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
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 1    despite any contentions of the Plaintiffs, they are all by their conduct bound by the
 2
      Agreement.
 3
 4          40.    In light of this controversy, Plaintiffs respectfully seek to have this
 5
      Court declare the rights of the parties to this controversy and specifically declare
 6
 7    that none of the Plaintiffs are obligated to BAM under the guaranty provisions

 8    stated in the Escrow Agreement.
 9
                                           COUNT II
10
11                              (Breach of Contract by MSBA)
12
            41.    Plaintiffs reallege and incorporate by reference herein all of the
13
14    allegations set forth above.
15          42.    By failing to comply with the protective provisions stated in the SPA
16
      and adopted by reference in the Escrow Agreement, MSBA breached its obligation
17
18    to do so and is liable for those damages in the amount to be proved at trial.
19
            43.    Those damages include any monetary loss to Mammoth in an amount
20
21    to be determined at trial and which is caused by said breach.
22
                                           COUNT III
23
24
             (Negligent Representation Against Defendants MSBA and Bown)

25          44.    Plaintiffs reallege and incorporate by reference herein all of the
26
      allegations set forth above.
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
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 1          45.     By undertaking to comply with the protective provisions guaranteed
 2
      by the Escrow Agreement, both MSBA and Bown assumed a duty to do so with
 3
 4    due care, and this duty was owed to Mammoth. Bown, acting on behalf of MSBA,
 5
      falsely represented to Mammoth that he had opened an escrow account when he
 6
 7    had not done so.

 8          46.     Mammoth relied upon this representation to its detriment because it
 9
      would never have issued a guaranty without there being an actual escrow
10
11    agreement as had been represented by Bown. Said misrepresentation was
12
      negligence.
13
14          47.     MSBA and Bown further breached their duty to Mammoth by failing
15    to assure compliance with the protective provisions of the SPA and Escrow
16
      Agreement and by allowing $7,550,000 to be sent to Universal without any of
17
18    those protections.
19
            48.     This breach of duty was negligence because it was foreseeable that
20
21    without confirming compliance with the protective provisions before the money
22
      was sent to Universal, that money would be sent when the gloves were not in fact
23
24
      shipped.

25
26
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
                              ATTORNEYS’ FEES
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 1             49.      As a proximate result of this negligence, the gloves were not shipped,
 2
      and that negligence has damaged Plaintiff Mammoth in an amount to be proved at
 3
 4    trial.
 5
               50.      BAM is likewise liable for those damages because it had appointed
 6
 7    MSBA as its agent and is therefore liable as MSBA’s principal under the doctrine

 8    of respondeat superior.
 9
               WHEREFORE, Plaintiffs respectfully request that the Court grant the
10
11    Plaintiffs the following relief:
12
                     a. That, on COUNT I, this Court declare and adjudge that none of the
13
14                   Plaintiffs are obligated to BAM under the guaranty provisions stated in
15                   the Escrow Agreement.
16
                     b. That, on COUNTS II AND III, this Court award compensatory
17
18                   damages in the amount to be proven at trial;
19
                     c. That this Court award attorneys’ fees and costs of suit as provided for
20
21                   in the Escrow Agreement; and
22
                     d. For such other relief as this Court deems just and proper.
23
24
                                  DEMAND FOR TRIAL BY JURY

25             Plaintiffs hereby demand a trial by jury on all issues so triable pursuant to
26
      Rule 38(b) of the Federal Rules of Civil Procedure.
27
28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
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 1          Respectfully submitted this 17th day of February, 2021.
 2
                                            By Counsel,
 3
 4                                          /s/ John J.E. Markham, II
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28      FIRST AMENDED COMPLAINT SEEKING A DECLARATORY JUDGMENT AND
           DAMAGES FOR BREACH OF CONTRACT, FOR NEGLIGENCE, AND FOR
                              ATTORNEYS’ FEES
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